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 5
      Attorneys for Defendants
 6    CAPITAL ASSET EXCHANGE & TRADING LLC,
 7    CAE ONLINE LLC, RYAN JACOB, and JEFFREY
      ROBBINS
 8

 9                               UNITED STATES DISTRICT COURT

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11                         NORTHERN DISTRICT OF CALIFORNIA

12
      SEMICONDUCTOR GLOBAL                          Case No. 4:25-cv-04075-HSG
13    SOLUTIONS,
                                                    DECLARATION OF WILLIAM J.
14                  Plaintiff,                      FRIMEL IN SUPPORT OF MOTION BY
                                                    DEFENDANTS CAPITAL ASSET
15          v.                                      EXCHANGE & TRADING LLC, CAE
                                                    ONLINE LLC, RYAN JACOB, AND
16    CAPITAL ASSET EXCHANGE &                      JEFFREY ROBBINS TO STAY ACTION
      TRADING LLC; CAE ONLINE LLC;                  PENDING DETERMINATION BY OFFICE
17    RYAN FRANZKE JACOB, individually;             OF FOREIGN ASSETS CONTROL
      and JEFFREY SCOTT ROBBINS,
18    individually,                                 Hearing Date: July 31, 2025
                                                    Hearing Time: 2:00 p.m.
19                  Defendants.                     Courtroom: 2
                                                    Judge: Hon. Haywood S. Gilliam, Jr.
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                                 DECLARATION OF WILLIAM J. FRIMEL IN SUPPORT OF MOTION TO STAY
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 1                              DECLARATION OF WILLIAM J. FRIMEL

 2          1.        I am lead counsel for Defendants Capital Asset Exchange & Trading LLC, CAE

 3   Online LLC, Ryan Jacob and Jeffrey Robbins (collectively, “Defendants”) in the above-

 4   referenced action.

 5          2.        The parties to this action have not yet served discovery.

 6          3.        The pleadings are not yet settled in this action, as Defendants’ motion to partially

 7   dismiss Plaintiff Semiconductor Global Solutions’ First Amended Complaint is set to be heard on

 8   July 31, 2025.

 9          4.        I declare under penalty of perjury under the laws of the United States of America

10   that the foregoing is true and correct.

11
      Dated: May 28, 2025                         /s/ William J. Frimel
12
                                                  WILLIAM J. FRIMEL
13                                                Attorneys for Defendants
                                                  CAPITAL ASSET EXCHANGE & TRADING LLC,
14                                                CAE ONLINE LLC, RYAN JACOB, and JEFFREY
                                                  ROBBINS
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                                   DECLARATION OF WILLIAM J. FRIMEL IN SUPPORT OF MOTION TO STAY
